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IN THE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF PENNSYLVANIA

SCOTT HAYMAKER,
C.A. No.
Plaintiff,
v.
CITY OF ]0HNSTOWN, CRAIG FOUST,
lndividually, and as former Chief of the City of
]ohnstown Police Department, and :
l\/lELlSSA KOMAR, as former City Manager of the :
City of ]0hnstown,
]URY TRIAL DEMANDED
Defendants.
COMPLAINT
lurisdiction

1. This civil action is brought pursuant to the Uniformed Services Employment and
Reemployment Rights Act of 1994, 38 U.S.C. §§ 4301, et. seq. ("USERRA").

2. This Court has subject matter jurisdiction over this matter pursuant to 38 USC §
4323(b] and 28 U.S.C. § 1331.

3. Venue is appropriate pursuant to 28 U.S.C. § 1391(b] (2], as a substantial part of the
events or omissions giving rise to this litigation occurred in the Western District of
Pennsylvania.

Parties
4. Plaintiff, Scott Haymaker, is an adult individual Who resides in South Carolina.
5. The Defendant, City of ]ohnstown, is a local municipality located in the Western

District of Pennsylvania. At all times relevant hereto, Defendant ]ohnstown Was an

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"employer, " as that term is defined under USERRA, 38 U.S.C. §4303[4), and was
likewise a covered entity under the PMAA, 51 Pa. Cons. Statute §7309.

Craig Foust is an adult individual residing in the Western District of Pennsylvania.
At all times relevant, Foust was the Chief of Police of the City of johnstown Police
Department At all times relevant hereto, Defendant Foust was an "employer, " as
that term is defined under USERRA, 38 U.S.C. §4303(4), and was likewise a covered
entity under the PMAA, 51 Pa. Cons. Statute §7309. He is sued in his individual

capacity

` Melissa Komar is an adult individual residing in the Western District of

Pennsylvania. At all times relevant, she was the Manager of the City of ]ohnstown.
At all times relevant hereto, Defendant Komar was an "employer, " as that term is
defined under USERRA, 38 U.S.C. §4303(4), and was likewise a covered entity under
the PMAA, 51 Pa. Cons. Statute §7309. She is sued in her individual capacity.

Facts
Mr. Haymaker joined the United States Army in 1988 and then the Pennsylvania
National Guard in 1996. He has been promoted through the ranks and became a
Sergeant Major in 2010, which is the highest ranking you can acquire as a non-
commissioned officer.
ln September 1997, Scott Haymaker was hired by the johnstown Police Department
(hereinafter “Police Department”) as a patrol officer.
In 2004, Haymaker became a detective. He was promoted to the Police
Department's Bureau of Criminal Investigations [BCI]. This transition resulted in

him becoming a member of the Southwestern PA Safe Streets Task Force. As part of

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the Task Force, Haymaker was entitled to a take home vehicle and additional
overtime.

11. In 2011, Haymaker was promoted to the position of Patrol Sergeant.

12. Throughout his career with the Police Department, Mr. Haymaker was a member of
the National Guard. As a result, he was periodically deployed.

13. For example, in june 2002-2003 Haymaker was deployed to Bosnia.

14. Between june 2007 and March 2008, Haymaker was deployed to lraq as part of
Operation lraqi Freedom.

15. From june 2009 through February 2011, Haymaker took a military leave of absence
to assume the position of Criminal Analyst for the National Guard Counter Drug
Program.

16. From june 2012 through 2013 Haymaker was deployed to Bosnia. From january
2015 to February 2017 he was deployed to Germany.

17. During his deployments to Germany, Haymaker was the Senior Enlisted Leader for a
Two Star General responsible for over 400 Service Members, DoD civilians and their
families in39 different countries in Europe.

18. Subsequently, General Breedlove (Rj, the US European Command Commander,
assigned Haymaker to serve as his Senior Enlisted Leader. The first time in history
that a member of the National Guard was selected as a Combatant Command
Enlisted Leader.

19. In connection with his military service, and service with the johnstown Police

Department, Haymaker attended and successfully completed numerous leadership

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courses, as well as developing extensive leadership skills associated with his rank in
the military.

20. Historically, Mr. Haymaker has had difficulties with the Defendant due to his
military duty.

21. For example, the Chief of the Police, Craig Foust, repeatedly expressed frustration
with Haymaker due to his military affiliations.

22. Foust repeatedly complained about how Haymaker's active duty deployments
inconvenienced the Police Department, These comments were made to both
Haymaker and other members of the police force.

23. Foust's animus towards Haymaker based upon his active duty commitments was
evidenced by Foust's statement that Haymaker could either be a police officer or a
soldier, but not both.

24. F oust also chastised Haymaker for purporting attempting to “recruit" fellow police
officers into the National Guard.

25. Foust pressured other police officers into asking Haymaker to voluntarily resign his
position with the BCI, on the basis that Haymaker’s military-related absences were
creating problems for the other detectives in the BCI.

26. Sergeant Grech also made comments that conveyed a bias against active military
personnel ln one instance, she stated she was reluctant to hire a well-qualified
applicant because he was a member of the National Guard and would be gone all the

time like Haymaker.

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27. ln addition to statements evidencing a bias against Haymaker because of his
military obligations, Haymaker was demoted and / or removed from consideration
for several promotions due to such obligations

28. For example, after taking a military leave in 2011, Haymaker was transferred from
the BCI back to the Patrol Division. Haymaker viewed this transfer as a demotion
since it resulted in diminished opportunities for overtime and the loss of a take
home vehicle.

29. Foust's act of involuntarily transferring Haymaker from BCI to Patrol was
unprecedented Previously, such transfers had been voluntary.

30. Haymaker filed a complaint regarding the transfer, and as a result, he was promoted
to Patrol Sergeant.

31. ln the fall of 2011 a vacancy was posted in the BCI. Haymaker applied and was
selected for the position, but his selection was contingent on him voluntarily
surrendering his promotion to Sergeant, which he did.

32. Similarly, when Haymaker returned from his deployment in june 2013, he
repeatedly asked to be reassigned to the Task Force or to be promoted back to
Sergeant. These requests were ignored.

33. In March 2014, Mr. Haymaker was transferred from the Detective Bureau back to
the Patrol Division. Around this same time, Haymaker was also suspended for
purportedly not following the chain of command and removed from the
promotional exam list.

34. On july 21, 2014, Mr. Haymaker filed a USERRA complaint regarding his transfer

from the Detective Bureau to the Patrol Division.

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35. In August 2016, Haymaker applied for a Sergeant position with the Detective
Bureau.

36. In September 2016, the City of johnston agreed to promote Haymaker to Sergeant.

37. In December 2016, Haymaker’s USERRA claim was closed as a result ofa settlement
agreement with the City of johnstown.

38. In 2016, two separate Captain's positions became available in the Police
Department. Initially, Haymaker was not permitted to take the Captain's
examination. Haymaker contacted his USSERA investigator who required the City to
allow him to take the exam. Haymaker then took the test and was ranked first
among the candidates

39. Mr. Haymaker was highly qualified for the position of Captain. He had many years
of supervisory experience with the military and the Police Department.

40. Mr. Haymaker submitted his application for Captain, but was unsuccessful

41. Instead, the Police Department selected jeff janciga and Chad Miller as Captains.

42. These individuals possessed less supervisory experience than Mr. Haymaker.

43. For example, Mr. Miller had previously worked as a School Resource Officer and had
no supervisory experience with the Police Department.

44. In addition, Mr. Miller had taken the Sergeant's exam on at least two separate
occasions and had failed both times.

45. Mr. janciga had less overall supervisory experience than Mr. Haymaker, as well.
While janciga had been a sergeant longer than Haymaker, Haymaker’s supervisory

experience, including that gathered in the military was far more extensive.

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46. When Haymaker applied for the Captain's position, he was the only candidate to
have successfully completed the Police Officer Leadership Executive Course.
[POLEX) which he had completed at Fort Indian Town Gap, in 2014.

47. Unlike Mr. Haymaker, Mr. janciga and Mr. Miller either had no military affiliations or
had been inactive during their employment with the Police Department.

48. ln March 2017, Mr. Haymaker also applied for the Chief position when it became
available after Foust's retirement

49. Haymaker was not selected as Chief. In fact, he was not even interviewed for the
position.

50. Instead, Robert johnson, a former Lieutenant with the Pennsylvania State Police,
was selected as the Chief of Police.

51. Mr. johnson does not have any military affiliations, nor does he possess a college
degree.

52. After he was denied these promotions, Mr. Haymaker filed a USERRA complaint
with the Department of Labor (PA-2017-00001-20-G).

53. 0n june 14, 2017, Mr. Haymaker received notification from the U.S. Department of
Labor that he had the right to seek private counsel or file a lawsuit against the City
of johnstown.

54. Mr. Haymaker retired from the johnstown Police Department in April 2017, and he

is currently an instructor at the Federal Law Enforcement Center.

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Causes of Action
COUNT l - Haymaker v. City of johnstown, Foust and Komar -
Violation of the Uniformed Services Employment and Reemployment Rights Act of
1994 (USERRA)

55. Plaintiff incorporates the allegations in the preceding paragraphs as if fully stated
herein.

56. Pursuant to 38 U.S.C. § 43 11, USERRA prohibits discrimination in employment
against an individual on the basis of his or her military service. Specifically, 38 U.S.C.
§ 4311 provides that "[a] person who is a member of a uniformed service shall not
be denied initial employment, reemployment, retention in employment, promotion,
or any benefit of employment by an employer on the basis of that membership
application for membership, performance of service, application of service, or
obligation."

57. As described in the preceding paragraphs, the City of johnstown violated the
abovementioned provisions of USERRA by denying Haymaker promotional
opportunities to the position of Captain and / or Chief of the johnstown Police
Department due to his military servicel

58. The USERRA violations were willful in that the City of johnstown showed reckless
disregard for whether its conduct was prohibited by the provisions of USERRA.

59. Because of the City of johnstown's actions in violation of USERRA, Haymaker
suffered a loss of earnings and other benefits.

WHEREFORE, Mr. Haymaker respectfully requests that this Court assume

jurisdiction over this matter and award Mr. Haymaker all of the damages and remedies

that are available to him under the law including, but not limited to, compensation for

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all lost wages and benefits, liquidated damages, reasonable attorney’s fees and litigation
costs, and any other relief that may be just and proper.

C(}UNT ll *~ Haymaker v. City of johastown, Foust and Komar -
38 U.S.C, § 4311 »~» Retaliation Claim

60. Plaintiff incorporates the allegations in the preceding paragraphs as if fully stated
herein.

61. At all times relevant here to, the adverse personnel actions taken against plaintiff
were in retaliation for protected activity taken by the plaintiff to seek or enforce
rights under USERRA and /or on account of his participation in proceedings or
investigations under the statute.

WHEREFORE, Mr. Haymaker respectfully requests that this Court assume
jurisdiction over this matter and award Mr. Haymaker all of the damages and remedies
that are available to him under the law including, but not limited to, compensation for
all lost wages and benefits, liquidated damages, reasonable attorney’s fees and litigation
costs, and any other relief that may be just and proper.

COUNT Ill- Claims Under 42 U.S.C. § 1983

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Retaliation in Violation of the 13t Amendment to the Constitution.

62. Plaintiff incorporates the allegations in the preceding paragraphs as if fully stated
herein.

63. During the course of his employment with the City of johnstown, Haymaker has
engaged activity protected by the First Amendment, including pointing out instances

of wrongdoing

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64. Hence, Haymaker has had communication outside the scope ofhis duties of
employment with appropriate city and state officials concerning matters of public
concern arising from the operation of the johnstown Police Department, including
matters involving officers' abuse of sick time and conditions that affect the safety of
the officers working for the force, as well as members of the public who had to enter
or do business in the Police Department premises.

65. Haymaker also engaged in protected activity in pursuit of his USERRA claims,
including filing a previous USERRA complaint, which resulted in a determination
that the City of johnstown had violated his USERRA rights.

66. Foust and Komar retaliated against Haymaker when they failed to appoint him to
the position of captain, as a result of his protected activities.

67. Komar set policy for the City of johnstown, as she was the acting City l\/lanager, and
had the authority to make policy-making decisions on behalf of the City.

68. The treatment of Haymaker in retaliation of his First Amendment rights violated 42
U.S.C. § 1983.

69. Haymaker requests this Court assume jurisdiction of this claim and award all
damages available to him under 42 U.S.C. § 1983. Award damages as well as
punitive damages against the individual Defendants.

Count IV_Haymaker v. Foust and Komar-
Pa. Common Law-Wrongful Refusal to Promote and / or Hire

70. Plaintiff incorporates the allegations in the preceding paragraphs as if fully stated
herein.

71. Count IV is a claim against Defendants Foust and Komar.

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72. The PMAA establishes the public policy of the Commonwealth of Pennsylvania that
prohibits discriminating against employees or prospective employees on account of
their military obligations

73. On account of his military service, Defendants Foust and Komar violated the public
policy established by the PMAA,

74. The conduct of the Defendants Foust and Komar was outrageous and carried out in
reckless disregard of Plaintiff's right to be free from discrimination and/ or
retaliation on account of his reserve obligations

75. As result of Defendants Foust and Komar's conduct, Plaintiff suffered
embarrassment humiliation, emotional distress, and damage to his reputation.

76. As a result of defendants Foust and Komar's conduct, plaintiff suffered lost wages,
benefits and other remuneration, front pay, and loss of earning capacity.

WHEREFORE, Plaintiff requests that Defendants Foust and Komar be held jointly

and severally liable for damages in excess of $50,000.00 including compensatory damages

for embarrassmentl humiliation, emotional distress, and damage to reputation that he

suffered as a result of their unlawful conduct; and punitive damages

Plaintiff demands a jury trial.

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Respectfully submitted,

Zs[Edward A. Olds
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